Case:22-10356-SDB Doc#:8 Filed:05/31/22 Entered:05/31/22 11:37:48   Page:1 of 6
Case:22-10356-SDB Doc#:8 Filed:05/31/22 Entered:05/31/22 11:37:48   Page:2 of 6
Case:22-10356-SDB Doc#:8 Filed:05/31/22 Entered:05/31/22 11:37:48   Page:3 of 6
Case:22-10356-SDB Doc#:8 Filed:05/31/22 Entered:05/31/22 11:37:48   Page:4 of 6
Case:22-10356-SDB Doc#:8 Filed:05/31/22 Entered:05/31/22 11:37:48   Page:5 of 6
Case:22-10356-SDB Doc#:8 Filed:05/31/22 Entered:05/31/22 11:37:48   Page:6 of 6
